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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

EDRICK FLOREAL-WOOTEN;
JEREMIAH LITTLE; JULIO GONZALES;
DAYMAN BLACKBURN; THOMAS FRITCH                                                   PLAINTIFFS

v.                                    Case No. 5:22-cv-05011-TLB-CDC

TIM HELDER, SHERIFF OF WASHINGTON COUNTY,
ARKANSAS, in his individual capacity;
KARAS CORRECTIONAL HEALTH, P.L.L.C.;
DR. ROBERT KARAS, M.D., in his individual capacity                              DEFENDANTS

     PLAINTIFFS’ STATEMENT OF DISPUTED MATERIAL FACTS AND SEPARATE
     STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF RESPONSE
             TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Comes now, Plaintiffs Edrick Floreal-Wooten, Jeremiah Little, Julio Gonzales, Dayman

Blackburn, and Thomas Fritch (“Plaintiffs”), and for their Statement of Disputed Fact and Separate

Statement of Undisputed Material Facts in Support of their Response to Defendants’ Motion for

Summary Judgment, state:

                               DISPUTED MATERIAL FACTS

        1.     That Plaintiffs were not given any information about ivermectin or the Karas Covid

Protocol before they were prescribed the drug cocktail.

        2.     That Plaintiffs were not given any information about ivermectin or the Karas Covid

Protocol at the time that they were given the drug cocktail.

        3.     That Plaintiffs did not consent to being given ivermectin or the Karas Covid

Protocol as a treatment for COVID-19.

        4.     That during and after the Delta wave, the Karas Covid Protocol was the only

treatment plan Karas Defendants used for jail patients with COVID-19, including Plaintiffs.




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        5.      That Dr. Karas was personally involved in the underlying constitutional because he

created the Karas Covid Protocol and directed that only it be used at the jail as a COVID treatment.

        6.      That Dr. Karas was personally involved in the underlying constitutional deprivation

because he effectively treated Plaintiffs because he was solely responsible for the Karas Covid

Protocol.

        7.      That it was not Karas Defendants’ practice to notify jail patients of the drugs Karas

Defendants were prescribing or giving jail patients.

        8.      That it was not Karas Defendants’ practice to notify jail patients of the drug Karas

Defendants were giving to them as part of the Karas Covid Protocol only if a patient asked.

        9.      That Karas Defendants told Plaintiffs the Karas Covid Protocol was vitamins,

antibiotics, and steroids.

        10.     The general consent to treatment forms jail patients sign at intake do not constitute

a complete consent of all medical treatment or all prescriptions in perpetuity at the WCDC.

        11.     Any other fact Plaintiffs dispute in their Response to Defendants’ Statement of

Facts filed contemporaneously on this date.

     PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED MATERIAL FACTS
              IN SUPPORT OF THEIR RESPONSE TO DEFENDANTS’
                     MOTION FOR SUMMARY JUDGMENT

I.      Dr. Karas’s Covid Protocol.

        1.      Dr. Karas was the architect of the covid protocols used at the Washington County

Detention Center (WCDC). Exhibit A, Karas Dep. 34:23-35:4 (“Q: And so why did you use the

range that you used rather than the range that the FLCCC --- A: We were having good success at

our jail with our treatment, and the dosing that we had, that’s what we stayed on. We didn’t follow

the FLCC’s exactly. I independently came up with our protocols, and they – and, you know, they

are very similar to the FLCCC’s website protocols, but not exact.”).
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        2.       Dr. Karas’s Covid Protocols “changed often.” Exhibit B, K. Hinely Dep. 65:14-

21; Exhibit A, Karas Dep. 36:2-10; (“[I]t evolved, yes. It evolved the whole time.”).

        3.       When revising his covid protocol, Dr. Karas relied on his own personal experience

and research. Exhibit A, Karas Dep. 81:11-13.

        4.       Dr. Karas’s research included reading online articles, browsing Facebook pages,

following “a guy named John Campbell, Dr. John Campbell, on YouTube,” a “nice cartoon thing”

from Dr. Marik “explaining the pathophysiology of COVID in the lungs,” and generally

communicating with friends and colleagues. Exhibit A, Karas Dep. 36:11-37:13; 81:18-82:1.

        5.       The Karas Covid Protocol that he used at the jail was different than the covid

protocol he used at his private practice clinic. Exhibit A, Karas Dep. 31:17-32:20.

        6.       When developing and modifying his COVID-19 protocol, Dr. Karas would

communicate with both his private clinic staff and Kelley Hinely, his nurse practitioner at KCH.

Exhibit C, KARAS000013.

        7.       Importantly, Dr. Karas collected and documented outcomes and treatment regimens

for his jail patients who were being treated for COVID-19. Exhibit A, Karas Dep. 135:2-138:17;

Exhibit D, KARAS003437. He organized this research in an excel spreadsheet, which contained

information for over 300 jail patients, including first and last initials, date of birth, ethnicity, and

intake date, among other things. Exhibit E, Detention Center Data.1

        8.       In April 2021, Dr. Karas emailed this spreadsheet to an individual at McGill

University in Quebec, Canada, who was researching the efficacy of one of the drugs in Dr. Karas’s

Covid Protocol drug cocktail, montelukast. Exhibit F, KARAS003433-3435. Dr. Karas sent his


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           Plaintiffs have attached Exhibit E a PDF version of this excel spreadsheet. Given the volume of
information contained therein, and the need to protect the identity of the individuals, Plaintiffs redacted the
first and last initials and dates of birth. To be clear, this information was redacted by Plaintiffs, not Karas
Defendants.
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jail research to this individual because “I had talked to a guy on that Facebook page, a physician

out of Colorado, and he says, ‘Oh, you might’ . . . I was telling people what I was using for

treatment of COVID-19 on . . . that website, you know, pretty much our ‘Evolution’ and tell them,

‘Hey, I’m using this, this, this, and this.’ They’re like, ‘Oh, there’s a lady I know who’s doing

research on montelukast out of Canada. You might want to contact her.’ And I think that’s how I

contacted her.” Exhibit A, Karas Dep. 139:6-19.

       9.      In July 2021, Dr. Karas sent an email to Dr. Martha Sharkey, the Washington

County Health Officer, about the McGill research. Exhibit D, KARAS003437; Exhibit A, Karas

Dep. 145:8-14. Notably, in this email to Dr. Sharkey, Dr. Karas references a letter that he sent to

McGill University to help secure funding for a study for a COVID treatment. Exhibit D,

KARAS003437.

       10.     Dr. Karas sent both “our jail data” and “data from our 4000 plus clinic patients” to

the individual at McGill University. Exhibit D, KARAS003437. Dr. Karas did not tell the jail

patients their information would be shared with these third parties, and he did not direct Kelley

Hinely to notify the jail patients of this fact. Exhibit A, Karas Dep. 147:14-148:17.

       11.     Dr. Karas sent his “Detention Center Data” to the individual at McGill University

because it would “help support her premise” for her research. Exhibit A, Karas Dep. 139:20-22.

Dr. Karas said the data showed “whatever we did worked . . . it’s fairly statistically significant.”

Exhibit A, Karas Dep. 143:5-144:10.

       12.     In an email to Kelley Hinely, a KCH employee, and Tracey Moore, an employee at

Dr. Karas’s private clinic, Dr. Karas notified Ms. Hinely and Ms. Moore that he had not received

a response from the “researcher lady” whom he sent his “Detention Center Data.” Exhibit F,

KARAS003433-435.



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        13.     Dr. Karas did not create this spreadsheet; he directed Kelley Hinely to do so.

Exhibit A, Karas Dep. 137:20-138:10. Dr. Karas told Kelley Hinely to include “[a]ll our treatment

protocol, whatever we used, if you looked at all that: the IV vitamin C, vitamin pack, melatonin,

Decadron, prednisone, Pepcid, steroid inhaler, albuterol inhaler, Tylenol, ivermectin, D3. So all

our treatment medicines.” Exhibit A, Karas Dep. 140:6-13.

        14.     Dr. Karas asked Kelley Hinely to collect this information to “gather[] data and try[]

to help other providers start to research and – options that could be used to treat covid, repurpose

drugs.” Exhibit A, Karas Dep. 138:14-17; 140:19-141:1 (“Because sometimes you – for our

research, if you’re – if they took the – if we ordered it, but they didn’t take it, and that – we want

to know that they didn’t take it.” (emphasis added)).

        15.     Dr. Karas sent his “Detention Center Data” to third parties, including individuals

unrelated to Washington County or the State of Arkansas. Exhibit A, Karas Dep. 145:8-14 (“It

looks like I sent it to Dr. Sharkey, who was the Washington County health officer, and she’s –

she’s a physician. I – I sent it to Dr. Marik, and then I sent it to the [researcher] lady at McGill, the

university that – that was trying to get the study on – on the – on the Singulair, or montelukast.”).

        16.     The purpose of collecting and gathering his “Detention Center Data” was to further

research endeavors. Exhibit A, Karas Dep. 139:6-22; Exhibit D, KARAS003437; Exhibit F,

KARAS003433-435; Exhibit CC, Defendant Dr. Robert Karas’s and KCH’s Supplemental

Responses to Plaintiffs’ First Set of Interrogatories and Requests for Production, dated March 20,

2023 (“Information was gathered for the purpose of determining what medical protocols were

working.”).




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       17.    Dr. Karas openly and actively encouraged others to use his covid protocol, but

particularly ivermectin, as a covid treatment. Exhibit B, K. Hinely Dep. 113:2-23; Exhibit D,

KARAS003437; Exhibit F, KARAS003433-435; Exhibit G, KARAS0003425.

II.    Plaintiffs are given Dr. Karas’s Covid Protocol without their knowledge or consent.

       18.    Each Plaintiff was given Ivermectin as a treatment for COVID-19. Exhibit H,

Floreal-Wooten Records, p. 5-6; Exhibit I, Little Records, pp. 5-6; Exhibit J, Gonzales Records,

pp. 4-5; Exhibit K, Blackburn Records, pp. 5-6; Exhibit P, Fritch Records, pp. 3-4.

       19.    Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn were prescribed

ivermectin as part of the Karas Covid Protocol in August 2021. Exhibit H, Floreal-Wooten

Records, p. 3; Exhibit I, Little Records, p. 4; Exhibit J, Gonzales Records, p. 3; Exhibit K,

Blackburn records, page 4.

       20.    Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn were never told the drug

cocktail contained ivermectin. Exhibit L, Floreal-Wooten Dep. 68:15-17.; Exhibit M, Little Dep.

32:23-25; Exhibit N, Gonzales Dep. 43:25-44:3; Exhibit O, Blackburn Dep. 52:2-3.

       21.    Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn were not given any

information about the side effects of taking ivermectin. Exhibit L, Floreal-Wooten Dep. 68:15-

17; Exhibit M, Little Dep. 27:8-25; Exhibit N, Gonzales Dep. 44:4-6; Exhibit O, Blackburn Dep.

51:24-52:1.

       22.    Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn were not given any

information about the Karas Covid Protocol. Exhibit S, Alaytseva Dep. 16:10-17:2; Exhibit T, J.

Hinely Dep. 11:11-12:5; Exhibit L, Floreal-Wooten Dep. 68:15-17; Exhibit M, Little Dep. 27:8-

25; Exhibit N, Gonzales Dep. 43:25-44:25; Exhibit O, Blackburn Dep. 51:16-18.




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       23.     When Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn asked about the

Karas Covid Protocol, they were told the drug cocktail was vitamins, antibiotics, and steroids, and

the drugs would make them feel better and get over covid. Exhibit L, Floreal-Wooten Dep. 68:22-

69:8; Exhibit M, Little Dep. 27:8-17; Exhibit N, Gonzales Dep. 50:7-10; Exhibit O, Blackburn

Dep. 25:20-26:16.

       24.     Plaintiff Fritch is HIV-positive. Exhibit Q, Fritch Dep. 13:25-14:3. Plaintiff Fritch

was given ivermectin in December 2020. Exhibit P, Fritch Records, pp. 3-4. Fritch was told the

drug was “for parasites.” Exhibit Q, Fritch Dep. 39:20-40:13. When he questioned the drug, Janna

Hinely said, “I don’t know. It’s what we’re [giving] for COVID.” Id. Plaintiff Fritch was “never

told [what] ivermectin was and what it exactly was intended for” and he was never “given an

option to take something else for the COVID.” Exhibit Q, Fritch Dep. 38:16-39:7. Plaintiff Fritch

was never told anything about the side the side effects of that drug, including any risks related to

his status as an HIV-positive patient. Id. Plaintiff Fritch sought a second opinion about the use of

ivermectin and asked for information about the drug, but he does not recall exactly when he made

those requests. Exhibit Q, Fritch Dep. 58:3-59:12.

       25.     Had Plaintiffs been informed about ivermectin or the Karas Covid Protocol, they

would have refused to take it. Exhibit L, Floreal-Wooten Dep. 53:3-10; Exhibit M, Little Dep.

33:4-6, Exhibit N, Blackburn Dep. 53:22-24; Exhibit Q, Fritch Dep. 45:18-21.

III.   The only treatment plan: the Karas Covid Protocol.

       26.     Prior to April 2021, patient treatment for COVID-19 was not a one-size-fits-all-

approach. K. Hinely Dep. 114:20; 115:17-116:5. Before the Delta wave, there wasn’t a “hard and

fast protocol per se,” the treatment would depend “if the inmate was over 40 or under 40, if they




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had diabetes, some risk factors.” Exhibit A, Karas Dep. 26:8-17; Exhibit B, K. Hinely Dep.

115:17-116:5.

        27.     In spring of 2021, in response to the “Delta Wave,” Dr. Karas began encouraging

the use of his protocol. Exhibit B, K. Hinely Dep. 113:2-23 (“Dr. Karas did not encourage the use

[of the Karas Covid Protocol] as it is listed here . . . until Delta was prevalent in the jail.”).

        28.     When the Delta wave hit, Dr. Karas “used all the meds on everybody.” Exhibit A,

Karas Dep. 130:5-17 (Q: Did the jail protocol take those other considerations into account? A:

Yes, we did. We – that’s why we started using everything at the jail. But for the – during the Delta

wave, it was very – I thought it was a more dangerous strain, and so we used all the meds on

everybody.”). Indeed, “with the Delta wave, I believe we – we gave everybody the same – same

meds.” Exhibit A, Karas Dep. 130:20-22.

        29.     After Dr. Karas created or revised his covid protocols, he and/or Kelley Hinely

would “build a prescription set” based on the protocols. Exhibit B, K. Hinely Dep. 65:4-21;

Exhibit A, Karas Dep. 100:24-101:11.

        30.     This prescription set included whatever assortment of medications Dr. Karas

wanted as part of the drug cocktail. Exhibit B, K. Hinely Dep. 65:4-21.

        31.     According to Plaintiffs Floreal-Wooten’s, Little’s, Gonzales’s, and Blackburn’s

chart notes, on August 21, 2021, Jolana Wilson, a paramedic, “ordered” the Karas Covid Protocol

for them. Exhibit H, Floreal-Wooten Records, p. 3; Exhibit I, Little Records, p. 4; Exhibit J,

Gonzales Records, p. 3; Exhibit K, Blackburn Records, p. 4.

        32.     According to Plaintiffs Floreal-Wooten’s, Little’s, Gonzales’s, and Blackburn’s

chart notes, Jolana Wilson added various prescriptions for the drugs that were part of the protocol’s




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drug cocktail. Exhibit H, Floreal-Wooten Records, p. 2; Exhibit I, Little Records, pp. 3-4; Exhibit

J, Gonzales Records, pp. 2-3; Exhibit K, Blackburn Records, pp. 3-4.

        33.     Jolana Wilson is a paramedic who does not have prescriptive authority, meaning

she cannot prescribe drugs. Exhibit A, Karas Dep. 101:12-16 (“Q: Okay. But Jolana Wilson is

putting in the order for these prescriptions? Is that what you’re saying? A: Yes. It looks – yes, it

looks like that. A: And does a paramedic have prescriptive authority? A: No.”).

        34.     Jolana Wilson does not prescribe the medication; she merely orders a prescription

on behalf of Kelley Hinely or Dr. Karas. Exhibit B, K. Hinely Dep. 69:17-20; Exhibit A, Karas

Dep. 103:20-104:3 (“Yeah, I’d say they’re not prescribing. They’re – or they enter a protocol that’s

been approved.”).

        35.     For each prescription, the chart notes identify the “Doctor” as “PROTOCOL.”

Exhibit H, Floreal-Wooten Records, p. 2; Exhibit I, Little Records, pp. 3-4; Exhibit J, Gonzales

Records, pp. 2-3; Exhibit K, Blackburn Records, pp. 3-4.

        36.     Dr. Karas “is in charge of all the protocols.” Exhibit B, K. Hinely Dep. 68:20-22.

And Dr. Karas was the final decision-maker regarding patient care when he was the provider

responsible for treating the patient. Exhibit A, Karas Dep. 18:19-20 (“I would say if I’m treating

the patient, I have the final decision.”).

        37.     When a patient tested positive for COVID-19, Jolana Wilson hit a “button” that

automatically ordered Dr. Karas’s Covid Protocol. Exhibit R, Wilson Dep. 20:1-14 (“Q: And just

so I’m clear on this, can you elaborate on what “started protocols” mean? A Okay. Like I told you,

there was a button that we pushed. It was “COVID-positive.” It would automatically put the

medications that were protocol for COVID-positive patients that would go to review for the

provider to review.”);



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       38.     When Jolana Wilson hit the button, the medications were automatically put into the

system for distribution and administration. Exhibit B, K. Hinely Dep. 66:1-3 (“Well, prescription

set, when she pushed that button, it put these orders right here automatically into the system for

the med passers.”).

       39.     This was different than Dr. Karas’ private clinic. Exhibit A, Karas Dep. 30:25-31:5

(“So explain to me what you mean the ‘Washington County Jail protocol.’ A: Well, there we have

to – you know, we had to set up where you could hit buttons to put the meds in, you know? So

that’s – that’s what I’m talking about. We don’t have that in the clinic. You just write a script or

whatever.”).

       40.     In addition to ordering the prescriptions, Jolana Wilson put the patient “on review”

so that the provider could review the treatment regimen. Exhibit R, Wilson Dep. 29:21-23 (“And

– and I put ‘placed on review,’ so this means it automatically goes to Kelley to review, or to Dr.

Karas, whoever is doing their review.”).

       41.     Jolana Wilson could only click the button to order the Karas Covid Protocol, she

could not personally treat patients because doing so is “not in [her] scope” of practice. Exhibit R,

Wilson Dep. 15:12-14.

       42.     As related to Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn, a provider

did not conduct a review of Jolana Wilson’s decision to start the protocol medicines until after

each plaintiff had already started taking the drug cocktail. Exhibit H, Floreal-Wooten Records,

p. 5-6; Exhibit I, Little Records, pp. 5-6; Exhibit J, Gonzales Records, pp. 4-5; Exhibit K,

Blackburn Records, pp. 5-6.




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       43.     Specifically, with respect to Plaintiff Floreal-Wooten, Jolana Wilson started Dr.

Karas’s Covid Protocol for him at 11:40 pm on August 21, 2021. Exhibit B, K. Hinely Dep. 65:11-

15; Exhibit H, Floreal-Wooten Records, p. 3.

       44.     Plaintiff Floreal-Wooten was given the drug cocktail at approximately 8:30 am and

7:15 pm on August 22, 2021, and approximately 7:30 am on August 23, 2021. Exhibit B, K.

Hinely Dep. 65:11-15; Exhibit H, Floreal-Wooten Records, p. 5-6.

       45.     According to Plaintiff Floreal-Wooten’s chart notes, Kelley Hinely conducted her

review at 8:32 am on August 23, 2021. Exhibit H, Floreal-Wooten Records, p. 2.

       46.     According to Plaintiff Floreal-Wooten’s chart notes, Kelley Hinely “approved” the

treatment regimen at 8:32 am on August 23, 2021. Exhibit H, Floreal-Wooten Records, p. 2.

       47.     The sequence of events was the same with Plaintiffs Blackburn, Gonzales, and

Little, who were similarly given the Karas Covid Protocol before Kelley Hinely’s review and

approval. Exhibit I, Little Records, pp. 1-6; Exhibit J, Gonzales Records, pp. 1-5; Exhibit K,

Blackburn Records, pp. 1-6.

IV.    “Informed” consent.

       48.     No Karas Defendant or their witnesses testified about the information Plaintiffs

received when they were given ivermectin or the Karas Covid Protocol.

       49.     No Karas Defendant or their witnesses testified that these Plaintiffs were given any

information at all about ivermectin or the Karas Covid Protocol.

        50.    According to Jolana Wilson, it was KCH’s practice to tell a patient what medicines

 he or should was going to get when she ordered a protocol. Exhibit R, Wilson Dep. 38:5-10 (Q:

 Jo, we’ve talked before. Is the practice when you start protocol meds to tell the patient – inmate

 what the meds they are going to get are? A: Yes, sir.).



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       51.      Jolana Wilson does not recall her specific interactions with any of the Plaintiffs.

Exhibit R, Wilson Dep. 19:14-25, 20:15-21:22.

       52.      Vladislava Alaytseva is a med-passer for Defendant KCH. Exhibit S, Alaytseva

Dep. 8:21-25.

       53.      Vladislava Alaytseva’s employee identification number is 7872. Exhibit S,

Alaytseva Dep. 22:23-24.

       54.      Vladislava Alaytseva administered part of the Karas Covid Protocol to Plaintiffs

Floreal-Wooten, Little, Gonzales, and Blackburn on the morning of August 24, 2021. Exhibit H,

Floreal-Wooten Records, p. 5; Exhibit I, Little Records, p. 5; Exhibit J, Gonzales Records, p. 4;

Exhibit K, Blackburn Records, p. 5.

       55.      Vladislava Alaytseva is allowed to tell a patient what drug the patient is receiving,

but only if the patient asks, and she refers any additional questions to the kiosk. Exhibit S,

Alaytseva Dep. 16:10-17:2 (“Q: Do you remember any instruction as to whether you were to

identify to the detainee what medication they were receiving? A: Yes. In any case, anytime a

detainee or patient is given any new medications, they are allowed to ask us what they are. I’m

allowed to answer what they are. And as far as any further questions, as far as side effects or things

like that, I ask them to refer those questions back to the kiosk so that a provider can answer those.”).

       56.      Janna Hinely is a med-passer for Defendant KCH. Exhibit T, J. Hinely Dep. 7:9-

11.

       57.      Janna Hinely’s employee identification number is 3249. Exhibit T, J. Hinely Dep.

21:21-25.

       58.      Janna Hinely administered part of the drug cocktail to Plaintiffs Floreal-Wooten,

Little, Gonzales, and Blackburn on the evening of August 22, 2021. Exhibit H, Floreal-Wooten



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Records, pp. 5-6; Exhibit I, Little Records, pp. 5-6; Exhibit J, Gonzales Records, p. 6; Exhibit

K, Blackburn Records, p. 6.

       59.     Janna Hinely administered ivermectin to Plaintiffs Floreal-Wooten, Little,

Gonzales, and Blackburn on the evening of August 22, 2021. Exhibit H, Floreal-Wooten Records,

pp. 5-6; Exhibit I, Little Records, pp. 5-6; Exhibit J, Gonzales Records, p. 6; Exhibit K,

Blackburn Records, p. 6.

       60.     Janna Hinely administered ivermectin to Plaintiff Fritch on December 22, 2020.

Exhibit H, Fritch Records, p. 4.

       61.     Janna Hinely “really [doesn’t] say anything” to jail patients when administering

medication. Exhibit T, J. Hinely Dep. 11:11-14 (“Q: Well, did you receive any training on what

to say to a detainee when you gave them medication? A: I really don’t say anything to them unless

they ask me a question.”).

       62.     Janna Hinely gives jail patients information only if they ask her questions. Exhibit

T, J. Hinely Dep. 11:11-14. (“Q: Well, did you receive any training on what to say to a detainee

when you gave them medication? A: I really don’t say anything to them unless they ask me a

question.”).

       63.     Janna Hinely could not give this information because she is “not licensed” and “not

a nurse.” Janna Hinely would instead instruct detainees to direct any questions to a provider

because she “[doesn’t] know all the information.” Exhibit T, J. Hinely Dep. 11:15-22 (“Q: Okay.

And what were you trained to do if they asked you a question? A: I am not licensed. I’m not a

nurse. I’m just a med passer. So I always instruct the detainees, if they do have a question, to put

it in the kiosk systems so a paramedic – a nurse can speak to them, because I don’t know all the




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information. So I’d rather them get something from an actual person who knows what they’re

talking about.”).

       64.     Janna Hinely can tell a patient what he or she is taking if the patient asks her.

Exhibit T, J. Hinely Dep. 11:23-12:5.

       65.     Even if they ask her a question, Janna Hinely “can’t tell [the patients] exactly what

[the medication] is for or anything like that.” Exhibit T, J. Hinely Dep. 11:23-12:5.

       66.     Kelley Hinely “immediately” “scheduled retraining” of all KCH staff after

reviewing testimony in this case related to KCH employees’ practices when administering

medicine to jail patients. Doc. 75-2, p. 3, ¶ 16, Exhibit B to Defendants’ Motion for Summary

Judgment.

       67.     This retraining was focused on proper practices when administering medications,

specifically about the amount of information to provide to patients when administering

medications. Id.

       68.     Kelley Hinely was particularly concerned about Janna Hinely’s testimony related

to her practices when administering medications. Id.

       69.     Janna Hinely is the med-passer who administered ivermectin to every plaintiff.

Exhibit H, Floreal-Wooten Records, pp. 5-6; Exhibit I, Little Records, pp. 5-6; Exhibit J,

Gonzales Records, p. 6; Exhibit K, Blackburn Records, p. 6; Exhibit P, Fritch Records, p. 4.

       70.     Jail patients typically sign a general consent to treatment form when they enter

WCDC. Exhibit U, Helder Dep. 35:7-15, Exhibit V, Consent Form.

       71.     Plaintiffs Floreal-Wooten, Little, Gonzales, and Blackburn all signed general

consent to treatment forms. Doc. 75-20, Exhibit S to Defendants’ Motion for Summary Judgment.




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          72.   Dr. Karas believes that once a patient signs the general consent form, he or she has

effectively consented to receiving all prescriptions. Exhibit A, Karas Dep. 94:19-25.

          73.   This includes prescriptions for potentially dangerous medications. Exhibit A,

Karas Dep. 94:15-25 (“Q: Okay. So with respect to the informed consent that patients sign at

intake, is it your position that they are consenting to prescription of potentially dangerous drugs?

A: Yes. Q: Any kind of drug, even if it could kill them, they’re – they’ve consented to [omitted

objection]. . . a prescription for that drug? A: Correct. Like every medicine – like the

antidepressants, you increase your risk of suicide 3 percent. Do we use antidepressants at the jail?

Yes.”).

          74.   Dr. Karas stated that he need not tell patients of all the dangerous side effects, only

the ones that he thought were significant or severe. Exhibit A, Karas Dep. 95:1-96:3.

          75.   Kelley Hinely believes a patient retains the freedom of choice even after signing

the consent form at intake. Exhibit B, K. Hinely Dep. 127:22-128:5.

          76.   Kelley Hinely believes the general consent to treatment does not “give [her]

permission to do whatever [she] want[s] with no basis.” Exhibit B, K. Hinely Dep. 125:18-25.

          77.   Early on in COIVD, Karas Defendants stopped using written consents to treatment

forms and instead obtained consent verbally. Exhibit U, Helder Dep. 65:18-67:9, 82:2-6.

          78.   Sheriff Tim Helder urged Karas Defendants to resume the use of written general

consents to treatment. Exhibit U, Helder Dep. 70:22-23.

          79.   Sheriff Helder’s conversation with Kelley Hinely about using written consent forms

occurred after Plaintiffs were given ivermectin in August 2021. Exhibit U, Helder Dep. 70:24-

71:3.




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       80.     On August 26, 2021, Kelley Hinely told a United States Department of Justice

employee that, “starting today,” Karas Defendants was going to start using a “detailed consent”

with each individual drug [in the Kars Covid Protocol] listed.” Exhibit W, KARAS000212-213.

Kelley Hinely copied Tracey Moore, an employee of Dr. Karas’s private clinic, to her response at

Tracey Moore’s Karas Health Care email address. Id.

       81.     This detailed “Covid specific treatment consent” was different from the general

consent to treatment form Plaintiffs signed at intake. Exhibit X, KARAS000164.

       82.     On August 26, 2021, Kelley Hinely notified KCH individuals that each patient must

sign the detailed COVID specific treatment consent before the patient could be started on the Karas

Covid Protocol. Exhibit Y, KARAS000228.

       83.     Dr. Karas and his staff created the “new consent form” immediately after “it hit the

news.” Exhibit A, Karas Dep. 164:23-165:10.

       84.     An example of the detailed consent for treatment of COVID-19 used at the WCDC

lists all medications, as well as possible side effects. Exhibit Z, KARAS000205-207.

       85.     At her deposition, Kelley Hinely did not recall any retraining related to pill call

after Karas Defendants started using the Karas Covid Protocol and deferred any questions about

that training to the med-passers. Exhibit B, K. Hinely Dep. 52:19-53:2 (Q: “When Karas

Correctional Health started the treatment protocol, was there any training related to pill call for the

treatment protocol? A: I don’t recall specifically. So as I stated, the way that we were doing

treatment was changing based on information as it was given to us. So I do know anytime there’s

a change, COVID-related, not COVID-related, then there’s retraining at that time. That would be

a question specifically for those individuals because I don’t remember.”).




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       86.      Tracey Moore is an employee of Karas Health Clinic, not Karas Correctional

Health. See Doc. 75-17, p. 2, ¶ 1, Exhibit P to Defendants’ Motion for Summary Judgment.

       87.      Tracey Moore “is familiar with and has personal knowledge of the profits and losses

of Karas Correctional Health as part of [her] duties working for Dr. Robert Karas.” Id. at ¶ 2.

Tracey Moore performs various administrative functions for Karas Correctional Health at the jail.

Exhibit A, Karas Dep. 11:22-12:4. Dr. Karas “[does not] know if [Tracey Moore is] on Karas

Correctional Health payroll or if she’s only on Karas Health Care payroll.” Exhibit A, Karas.

Dep. 12:5-8.

       88.      Janna Hinely worked at Karas Health Care from January 2020 until April 2020. J.

Exhibit B, J. Hinely Dep. 6:15-7:2.

       89.      Jolana Wilson had worked at Karas Health Care before, “just off and on when

needed.” Exhibit R, Wilson Dep. 7:17-21.

       90.      Kelley Hinely works at Karas Health Care “on occasion.” Exhibit B, K. Hinely

Dep. 13:5-23.

       91.      In 2015, Dr. Karas lost the bid on the contract to provide medical services at

WCDC. Exhibit A, Karas Dep. 16:10-21, 17:15-17.

       92.      In 2016, Dr. Karas rebid on the contract to provide medical services at WCDC and

won the bid. Exhibit A, Karas Dep. 16:10-21, 17:22-24; Exhibit U, Helder Dep. 26:15-28:7. As

of 2021, Dr. Karas was awarded a contract in the amount of $1,518,900.00 to provide medical

services at WCDC. Exhibit AA, KARAS000327-KARAS000343, at KARAS000333.

       93.      When Dr. Karas won the bid to provide medical services at WCDC, he was one of

an unknown number of bidders. Exhibit A, Karas Dep. 17:25-18:4; Exhibit U, Helder Dep. 27:16-

23.



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       94.     Sheriff Helder sought to hire a third-party to provide 24-hour medical services for

the hundreds of jail inmates. Exhibit U, Helder Dep. 26:21-28:7. The contract between Karas

Defendants and Washington County requires that Karas Defendants provide 24-hour coverage for

emergencies. Exhibit AA, KARAS000327-KARAS000343, at KARAS000329.

       95.     Karas Correctional Health was created when Dr. Karas won the bid to provide

medical services at WCDC. Exhibit A, Karas Dep. 13:17-25, 15:24-16:9.

       96.     Washington County did not directly supervise Karas Defendants when Karas

Defendants administered medical services or made medical decisions. Exhibit U, Helder Dep.

34:21-35:4 (“Q: Was there any oversight for the type of treatment that wouldn’t been provided to

a detainee? A: Not internally. That’s what we relied on the medical team to do, was to treat

patients.”); Exhibit A, Karas Dep. 18:14-19:24.

       97.     In July 2021, the Karas Covid Protocol included “doxycycline 100 milligrams BID

for five days; Singulair, which is montelukast, 10 milligrams daily for seven to ten days; vitamin

C, D, and zinc packets. I believe we would do ivermectin for five days, if you’re under 150 at 12

milligrams; if you’re above 150, it’s 24. And we would do high-dose vitamin D 100,000 a day for

three days. . . . And then steroids possibly if they got sicker.” Exhibit A, Karas Dep. 27:6-16;

Exhibit W, KARAS000212-213.

       98.     Dr. Karas sent a letter to a professor at McGill University to help the professor

secure funding to research the efficacy of a drug that Dr. Karas used in his Karas Covid Protocol

as a COVID treatment. Exhibit BB, KARAS003465.

       99.     The letter notes Dr. Karas is a “medical physician and owner of Karas Correctional

Health in the State of Arkansas, USA. We have had the medical contract overseeing the states 2nd




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largest county jail (20 employees, 500-700 inmates) for the last 6 years.” Exhibit BB,

KARAS003465.

       100.    The letter discusses Dr. Karas’s research at the WCDC, describing generally his

“anecdotal evidence” related to the efficacy of part of the Karas Covid Protocol. Exhibit BB,

KARAS003465.

       101.    Notably, Dr. Karas sent this email from his Karas Health Care letterhead. Exhibit

BB, KARAS003465.

       102.    The contract between Karas Defendants and Washington County provides that

Karas Defendants are responsible for providing “all medically necessary professional services to

Detainees at the Facility.” Exhibit AA, KARAS000327-KARAS000343, at KARAS000328.

       103.    After the WCDC moved to a new facility, which more than doubled the number

detainees, it “became apparent” to Sheriff Helder that he needed to “move in a different direction”

and contract the provision of medical services to a third-party provider. Exhibit U, Helder Dep.

26:21-27:10.

       104.    Dr. Karas was not concerned with the fact that Kelley Hinely did not review Ms.

Wilson’s decision to prescribe the Karas Covid Protocol until after Plaintiffs received multiple

rounds of the treatment. Exhibit A, Karas Dep: 103:13-19 (“Q: Okay. Is there any concern that

she did not review the prescription until two days later? A: The – is there some concern? Well, I

looked it up. 8/23 is Monday, I believe, so probably it was Friday night when it was put in, and

Kelley probably wasn’t in the jail on that Saturday or Sunday. But is there any concerns? No, I

don’t see any concern with it.”).




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to counsel of
record.




                                              /s/ Bourgon B. Reynolds




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